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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

  LOUIS JAMES BROWN III, #02352001                      §
                                                        §
  VS.                                                   §             CIVIL ACTION NO. 4:23cv773
                                                        §
  DIRECTOR, TDCJ-CID                                    §

               ORDER ADOPTING REPORT AND RECOMMENDATION
           CONCERNING PETITIONER’S MOTION FOR SUMMARY JUDGMENT

           The above-entitled and numbered civil action was referred to United States Magistrate

 Judge Aileen Goldman Durrett, who issued a Report and Recommendation (“the Report”)

 (Dkt. #26) concluding that Petitioner’s motion for summary judgment (Dkt. #18) should be

 denied. Petitioner filed a Notice (Dkt. #27),1 acknowledging that summary judgment is not a

 proper method of adjudicating a § 2254 petition. See Browder v. Dir., Ill. Dep’t of Corr., 434 U.S.

 257, 269 n.14 (1978). Thus, Petitioner has not objected to the findings and conclusions of the

 Report.

           The Report of the Magistrate Judge, which contains proposed findings of fact and

 recommendations for the disposition of such action, has been presented for consideration. The

 Court concludes that the findings and conclusions of the Magistrate Judge are correct. Therefore,

 the Court hereby adopts the findings and conclusions of the Magistrate Judge as the findings and

 conclusions of the Court.

           It is accordingly ORDERED that Petitioner’s motion for summary judgment (Dkt. #18) is

 DENIED.




           1
            In the Notice, Petitioner seeks an expedited ruling in his case. (Dkt. #27). The Court will consider
 Petitioner’s case as soon as possible given its substantial docket and limited resources.
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        IT IS SO ORDERED.

        SIGNED this 12th day of December, 2024.




                                  ___________________________________
                                  AMOS L. MAZZANT
                                  UNITED STATES DISTRICT JUDGE
